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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

RUDY SLACK,

      Defendant.                                      Case No. 05-cr-30133-7-DRH


                                       ORDER

HERNDON, District Judge:

             Before the Court is defendant Rudy Slack’s Motion for Additional Time

to File Post-Verdict Motion for Judgment of Acquittal (Doc. 438). Slack requests

this additional time in order to more fully research and prepare such Motion.

Pursuant to Federal Rule of Criminal Procedure 29(c)(1), “[a] defendant may move

for a judgment of acquittal, or renew such a motion, within 7 days after a guilty

verdict or after the court discharges the jury, whichever is later.” However, the Court

may permit an extension of time under Federal Rule of Criminal Procedure 45(b).

             The above-case amounted to a lengthy trial, involving Slack and four

other codefendants. Undoubtedly, for counsel to review the record of the trial, in

order to identify, research and argue grounds in support of a post-verdict motion for

judgment of acquittal will likely require more time than the statutory 7 days given

under Rule 29(c)(1). Further, the Motion states that the Government does not object



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to this request. Therefore, for good cause shown, defendant Slack’s Motion (Doc.

438) is GRANTED. Defendant Slack shall have until March 5, 2007 to file his

Motion for New Trial.

            IT IS SO ORDERED.

            Signed this 22nd day of February, 2007.

                                                  /s/      David RHerndon
                                                  United States District Judge




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